







COURT OF APPEALS









COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS

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  &nbsp;
  KRISTI LaDAWN HOGAN,
  &nbsp;
  Appellant,
  &nbsp;
  v.
  &nbsp;
  &nbsp;
  RANDY JOE HOGAN,
  &nbsp;
  Appellee.
  
  
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  &nbsp;
  No. 08-02-00060-CV
  &nbsp;
  Appeal from the
  &nbsp;
  143rd District Court
  &nbsp;
  of Ward County, Texas
  &nbsp;
  (TC# 01-02-19,890-CVW)
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O P I N I O N

Pending
before the Court is the appellant=s motion
to dismiss this appeal pursuant 

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to Tex. R. App. P. 42.1(a)(2), which states:

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(a)
The appellate court may dispose of an appeal as follows:

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.&nbsp;&nbsp; .&nbsp;&nbsp; .

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(2)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; in
accordance with a motion of appellant to dismiss the appeal or affirm the
appealed judgment or order; but no party may be prevented from seeking any
relief to which it would otherwise be entitled.&nbsp;


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Appellant has complied with the
requirements of Rule 42.1(a)(2).&nbsp; The
Court has 

considered this cause on the appellant=s motion and concludes the motion
should be granted and the appeal should be dismissed.&nbsp; We therefore dismiss the appeal.

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;


SUSAN
LARSEN, Justice

June 20, 2002

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Before Panel No. 1

Larsen, McClure, and Chew,
JJ.

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(Do Not Publish)

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